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            IN THE UNITED STATES DISTRICT COURT FOR THE
                 WESTERN DISTRICT OF PENNSYLVANIA

THE UNITED STATES DEPARTMENT OF            No. 03-1580
TRANSPORTATION, ex rel. AUGUST W.
ARNOLD, an individual,
                                               AMENDED COMPLAINT IN CIVIL
                 Plaintiff,                             ACTION
v.

AWK CONSULTING ENGINEERS, INC.,
CMC ENGINEERING, CONSTRUCTION              Thomas M. Hardiman, U.S.D.C.J
AND CONSULTING SERVICES, INC.,
DMJM & HARRIS, ERDMAN ANTHONY,             Filed on behalf of August W. Arnold, Relator:
ASSOCIATES, INC., GAI CONSULTANTS,
INC., GANNET-FLEMING, INC., K. B. A.       Counsel of Record:
ENGINEERING, P.C., L. ROBERT               James A. Ashton, Esquire
                                           500 Lewis Run Rd Ste 227
KIMBALL & ASSOCIATES, M.A. BEECH,          Pittsburgh PA 15122-3048
MACKIN ENGINEERING, MAGUIRE                Telephone: (412) 466-7301
GROUP, MCTISH, KUNKEL &                    Facsimile: (412) 469-9727
ASSOCIATES, MICHAEL BAKER JR.,             PA Supreme Court Id. # 11097
INC., PARSONS, BRINKERHOFF,
                                           W. J. Helzlsouer, Esquire
QUALITY ENGINEERING SOLUTIONS,             302 Euclid Avenue
SAI CONSULTING ENGINEERS, INC.,            Dravosburg, PA 15034-1208
SITE-BLAUVET ENGINEERS, INC., T. W.        Telephone: (412) 469-1992
CONSULTANTS, INC., TRUMBULL                Facsimile: (412) 469-2610
CORPORATION, URBAN ENGINEERS,              e-mail: wjhlaw@helzlsouer.com
                                           URL: www.helzlsouer.com
INC. VE ENGINEERING, INC.,                 PA Supreme Court Id. # 17300

                 Defendants                Jon Pushinsky Esq.
                                           Law & Finance Bldg.
JURY TRIAL DEMANDED                        429 4th Ave., Ste. 1808
                                           Pittsburgh PA 15219-1503
                                           Telephone (412) 281-6800
                                           Facsimile (412) 281-6808
                                           Email jonpush@aol.com
                                           PA Supreme Court Id. # 30434
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SIGNATURE OF COUNSEL:                                                                                    41




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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF PENNSYLVANIA

THE UNITED STATES DEPARTMENT OF                           CIVIL ACTION NO. 03-1580
TRANSPORTATION, ex rel. AUGUST W.
ARNOLD, an individual,                                    Thomas M. Hardiman, U.S.D.C.J
                  Plaintiff,
v.

AWK CONSULTING ENGINEERS, INC.,
ET AL.
             Defendants,

                     AMENDED COMPLAINT IN CIVIL ACTION PURSUANT
                      TO THE FALSE CLAIMS ACT TITLE 31 U.S.C. §3729

AND NOW COMES, the Plaintiffs The United States Department of Transportation, ex rel. August W.

Arnold, an Individual, by their attorneys James A. Ashton, Esquire and William J. Helzlsouer, Esquire,

and files this Complaint pursuant to the provisions of the False Claims Act (31 U.S.C Section 3729), the

following is a statement thereof:

I.      THE FALSE CLAIMS ACT - JURISDICTION AND VENUE

1. This is an action to recover damages and civil penalties on behalf of the United States of America

     arising out of false claims presented by Defendants to the United States Department of

     Transportation. This action arises under the provisions of Title 31 U.S.C. § 3729, et seq. popularly

     known as the False Claims Act, which provides that the United States District Courts shall have

     exclusive jurisdiction over actions brought under that Act and 28 U.S.C. §1331 because this civil

     action arises under the laws of the United States.

2. Venue is proper in the Western District of Pennsylvania pursuant to 28 U.S.C. § 1391 (b) and (c) and

     § 3732(a) of the Act insofar as the Defendants can be found, reside and transact business in this

     District. Venue is also proper in the Western District of Pennsylvania insofar as the acts complained

     of herein occurred in Allegheny County, Pennsylvania, within the Western District of Pennsylvania.




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3. As required by the False Claims Act, 31 U.S.C. § 3730(a)(2), Relator has provided to the Attorney

      General of the United States and to the United States Attorney for the Western District of

      Pennsylvania, contemporaneous with the filing of this complaint, a statement of the material

      evidence and information related to the complaint. This disclosure statement supports the existence

      of false claims by the Defendants.

II.      THE PARTIES -- RELATOR AND AFFILIATED ENTITIES

4. Relator, August W. Arnold, is a citizen and resident of the Commonwealth of Pennsylvania, and

      institutes and prosecutes this action in the name of the United States of America, The Department of

      Transportation and in his own behalf, pursuant to § 3729, 3730, and 3731 of Title 31 of the United

      States Code.

5. At all times relevant, Relator was employed by the Pennsylvania Department of Transportation,

      (hereinafter PennDOT.) Relator’s duties included the making of field audits of consultants hired by

      the District Engineering Office. Relator’s audits revealed that almost twenty-five percent of the

      consultants whose billings he reviewed lacked the proper credentials, all of which resulted in

      overcharges to PennDOT for Consultant services. This loss constituted a misappropriation of Federal

      Highway Funds.

6. The United States Department of Transportation (“USDOT”), is an agency of the United States

      government created by an Act of Congress on September 9, 1965 The Department of Transportation

      was established by an act of Congress on October 15, 1966, the Department’s first official day of
                                                                              to
      operation was April 1, 1967. The mission of the Department is             : Serve the United States by

      ensuring a fast, safe, efficient, accessible and convenient transportation system that meets our vital

      national interests and enhances the quality of life of the American people, today and into the future.

      49 U.S.C § 102 (2003)




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III. DEFENDANTS AND AFFILIATED ENTITIES1

7. AWK Consulting Engineers, Inc. (hereinafter AWK), is a Corporation organized and existing under

    the laws of the Commonwealth of Pennsylvania with its principal place of business at 10 Duff Road,

    Suite 304, Pittsburgh, PA 15235, Allegheny County, Commonwealth of Pennsylvania.

8. CMC Engineering, (hereinafter CMC), is a corporation organized and existing under the laws of the

    Commonwealth of Pennsylvania with its principal place of business at 1035 Boyce Road, Suite 120,

    Upper St. Clair, PA 15241, Allegheny County, Commonwealth of Pennsylvania.

9. Construction and Consulting Services, Inc. (hereinafter CCS) is a corporation organized and existing

    under the laws of the Commonwealth of Pennsylvania with its principal place of business at 1121 St.

    Clair Plaza, Suite 1200 A, Pittsburgh, PA 15241, Allegheny County, Commonwealth of

    Pennsylvania.

10. DMJM Harris, Inc., (hereinafter DMJM), is a corporation organized and existing under the laws of

    the Commonwealth of Pennsylvania with its principal place of business at Four Gateway Center,

    Suite 500, Pittsburgh, PA 15222-1416, Allegheny County, Commonwealth of Pennsylvania.

11. Erdman, Anthony, Associates, Inc. (hereinafter Erdman), is a corporation organized and existing

    under the laws of the Commonwealth of Pennsylvania with its principal place of business at Three

    Crossgate Drive, Suite 100, Mechanicsburg, PA 17050-2459, Commonwealth of Pennsylvania.

12. GAI Consultants, (hereinafter GAI), Inc. is a corporation organized and existing under the laws of

    the Commonwealth of Pennsylvania with its principal place of business at, 385 East Waterfront Dr,

    Homestead, PA 15120, Allegheny County, Commonwealth of Pennsylvania.

13. Gannett Fleming, Inc. ((hereinafter Gannett), Inc. is a corporation organized and existing under the

    laws of the Commonwealth of Pennsylvania with offices 601 Holiday Drive, Foster Plaza III, Suite


1
 The parties are listed herein in alphabetical order. The numbered counts begin with the first seven original Defendants. The
additional Defendants are then listed in the counts alphabetically.



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   200, Pittsburgh, PA 15220, Allegheny County, Commonwealth of Pennsylvania.

14. KBA Engineering, (hereinafter KBA), is a Corporation organized and existing under the laws of the

   Commonwealth of Pennsylvania with its principal place of business at 25 S. Washington Ave.,

   Jermyn, PA 18433, Commonwealth of Pennsylvania.

15. L. Robert Kimball & Associates, (hereinafter Kimball) is a Corporation organized and existing under

   the laws of the Commonwealth of Pennsylvania with its principal place of business at 615 West

   Highland Avenue, Ebensburg, PA 15931, County of Cambria and Commonwealth of Pennsylvania.

16. Mackin Engineering Company, (hereinafter Mackin), is a Corporation organized and existing under

   the laws of the Commonwealth of Pennsylvania with its principal place of business at 117 Industry

   Drive Pittsburgh, PA 15275, County of Allegheny and Commonwealth of Pennsylvania.

17. M. A. Beech Corporation, (hereinafter Beech), is a Corporation organized and existing under the

   laws of the Commonwealth of Pennsylvania with its principal place of business at One Veterans

   Way, Carnegie, PA 15106, Allegheny County, Commonwealth of Pennsylvania.

18. Maguire Group Inc., (hereinafter Maguire), is a Corporation organized and existing under the laws

   of the Commonwealth of Pennsylvania with its principal place of business at 503 Martindale Street,

   6th floor, Pittsburgh, PA 15212-5746, County of Allegheny and Commonwealth of Pennsylvania.

19. McTish, Kunkel and Associates (hereinafter McTish), is a Corporation organized and existing under

   the laws of the Commonwealth of Pennsylvania with its principal place of business at 2402 Sunshine

   Road, Allentown, PA 18103, Commonwealth of Pennsylvania.

20. Michael Baker Jr., Inc., (hereinafter Baker), is a Corporation organized and existing under the laws

   of the Commonwealth of Pennsylvania with its principal place of business at 100 Airside Drive,

   Moon Twp., PA 15108, Allegheny County, Commonwealth of Pennsylvania.

21. Parsons Brinckerhoff, (hereinafter Parsons), is a Corporation organized and existing under the laws




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   of the Commonwealth of Pennsylvania with its principal place of business at 1600 JFK Blvd. Suite

   700, Philadelphia, PA 19103.

22. Quality Engineering Solutions, Inc., (hereinafter Quality), is a Corporation organized and existing

   under the laws of the Commonwealth of Pennsylvania with its principal place of business at 405

   Water Street, P.O. Box 3004, Conneaut Lake, PA 16316 , Commonwealth of Pennsylvania.

23. SAI Consulting Engineers, Inc., (hereinafter SAI), is a Corporation organized and existing under the

   laws of the Commonwealth of Pennsylvania with its principal place of business at 1400 Penn

   Avenue, Suite 101 Pittsburgh, PA 15222-4332, Allegheny County, Commonwealth of Pennsylvania.

24. Site Blauvelt Engineers, Inc., (hereinafter Site), is a Corporation organized and existing under the

   laws of the Commonwealth of Pennsylvania with its principal place of business at 1036 Corporate

   Drive, Export, PA 15632, Commonwealth of Pennsylvania.

25. T.W. Consultants, Inc., (hereinafter TW) is a Corporation organized and existing under the laws of

   the Commonwealth of Pennsylvania with its principal place of business at 5500 Corporate Drive,

   Suite 300, Pittsburgh, PA 15237, County of Allegheny and Commonwealth of Pennsylvania.

26. Trumbull Corporation, (hereinafter Trumbull), is a Corporation organized and existing under the

   laws of the Commonwealth of Pennsylvania with its principal place of business at 1020 Lebanon

   Road, West Mifflin, PA 15122, County of Allegheny and Commonwealth of Pennsylvania.

27. Urban Engineers, Inc., (hereinafter Trumbull), is a Corporation organized and existing under the

   laws of the Commonwealth of Pennsylvania with its principal place of business at 530 Walnut

   Street, 14th Floor, Philadelphia, PA 19106-3685, Philadelphia County, Commonwealth of

   Pennsylvania.

28. VE Engineering, Inc., (hereinafter VE), is a Corporation organized and existing under the laws of the

   Commonwealth of Pennsylvania with its principal place of business at 251 S Houcks Road,




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      Harrisburg, PA 17109-2907, Dauphin County, Commonwealth of Pennsylvania.

29. Any and all affiliated companies and entities having contracts with PennDOT, agreements with

      PennDOT, or providing any engineering or consultant services to PennDOT under any contractual

      arrangement during the relevant period.

IV.      FACTUAL BACKGROUND

30. The Pennsylvania Department of Transportation is a Department of the Commonwealth of

      Pennsylvania as defined in 75 Pa.C.S. §102.

31. At all times relevant, Defendants were parties to various contracts with the Pennsylvania Department

      of Transportation to provide engineering, inspection and consultant services on Road, Bridge and

      other projects in District 11 and other construction districts of PennDOT.

32. At all times relevant, the contracts and agreements by and between PennDOT and each of the

      Defendants named herein were subject to, governed and administered according to specifications,

      including but not limited to Publication 408/2003 and amendments, issued and published by

      PennDOT.

33. The specifications applicable to the contracts and agreements by and between PennDOT and each of

      the Defendants named herein are governed by the specific provision relating to gratuities.2

34. From at least as early as 1992, the defendants knowingly engaged in a fraudulent scheme to obtain

      overpayments for engineering, inspection and consultant services for projects administered by the

      Pennsylvania Department of Transportation on road, bridge and highway projects funded by

      USDOT within the Commonwealth of Pennsylvania.


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  §105.05c) Gratuities and Penalties. Do not give or offer, or allow agents, employees or representatives to give or offer,
either directly or indirectly, money, property, entertainment, or other valuable things, to any employee or representative of
the Department for any reason, purpose, or cause, or as an inducement, bribe, or reward for doing or omitting to do any act,
or for showing any favor or disfavor in relation to any matter relating to the contract. Any such action will constitute a
violation of the contract. Upon satisfactory proof to the Secretary of such violation, the Department may terminate
performance of the work and take steps to complete the project, as specified in Section 108.08.




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35. Beginning in October of 1993, and within the applicable limitation period, the Defendants were and

   are part and parcel of the scheme that the defendants would and did submit false claims to PennDOT

   in support of services rendered on road, bridge and highway projects.

36. CMC Engineering, (hereinafter CMC), was a party to Federal Project No. Q76-X111-208,

   Consultant Agreement 116887.

37. Construction and Consulting Services, Inc. (hereinafter CCS) was a party to Federal Project No.

   35B-X111-191, Consultant Agreement 116779.

38. DMJM Harris, Inc., (hereinafter DMJM), was a party to, Federal Project No. Q05-X111-243,

   Consultant Agreement No. 116902, and Federal Project No. Q76-X111-196, Consultant Agreement

   No. 116779.

39. GAI Consultants, Inc. (hereinafter GAI), was a party to Federal Project Nos. Q05-023-9101,

   Consultant Agreement No. 116662, Federal Project No. Q05-X111-176, Consultant Agreement No.

   116471 and 116823, Federal Project No. 320-X111-092, Consultant No. 116337, Federal Project No.

   OAD-X111-080, Consultant Agreement No. 116471, Federal Project No. Q05-X112-112,

   Consultant Agreement 116682.

40. M. A. Beech Corporation, (hereinafter Beech), was a party to Federal Project No. Q24-X114-123,

   Consultant No. 116888, Federal Project No. 365-0020-114, Consultant No. 116888, Federal Project

   No. Q24-X114-118, Consultant No. 116592, Federal Project No. Q10-1734-103, Consultant No.

   116758, Federal Project No. Q10-X111-164, Consultant No. 116758, Federal Project No. Q76-

   X111-212, Consultant No. 116758, Federal Project No. 307-044-802, Consultant No. 116681,

   Federal Project No. Q24-X111-148, Consultant No. 116592, Federal Project No. Q23-X111-135,

   Consultant No. 116592, Federal Project No. Q24-X111-174, Consultant No. 116592.




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41. Michael Baker Jr., Inc., (hereinafter Baker), was a party to Federal Project No. Q05-X111-243,

   Consultant Agreement 116902, Federal Project No. 35B-X111-191, Consultant Agreement 116779,

   Federal Project No. Q24-X111-195, Consultant Agreement 116146, Federal Project No. Q76-X111-

   208, Consultant Agreement 116887, Federal Project No. Q76-X111-196, Consultant Agreement

   116779, Federal Project No. Q12-X111-149, Consultant Agreement 116745, Federal Project No.

   Q24-X111-179, Consultant Agreement 116745,

42. SAI Consulting Engineers, Inc., (hereinafter SAI), was a party to Federal Project No. Q50-X112-

   102, Consultant Agreement 116684, Federal Project No. Q10-X112-105, Consultant Agreement

   116684, Federal Project No. Q10-X111-153, Consultant Agreement 116685.

43. AWK Consulting Engineers, Inc., DMJM & Harris, Erdman Anthony, Associates, Inc., Gannet-

   Fleming, Inc., K. B. A. Engineering, P.C., L. Robert Kimball & Associates, Mackin Engineering,

   Maguire Group, McTish, Kunkel & Associates, Parsons, Brinkerhoff, Quality Engineering

   Solutions, Site-Blauvelt Engineers, Inc., Trumbull Corporation, Urban Engineers, Inc. VE

   Engineering, Inc., were parties to State Contracts on Federal Projects in the Commonwealth of

   Pennsylvania, and were signatories to consultant agreements with PennDOT.

44. In connection with each contract referred to in paragraphs 31 through 40, an audit was performed by

   Relator. The audit period spanned 2000, 2001, and part of 2002. Each audit disclosed overcharges to

   PennDOT for services performed by Defendants by individuals who did not possess the necessary

   credentials or certificates for the rates of pay charges by Defendants.       A true and correct copy of

   each audit was attached to the original complaint is incorporated herein and marked Exhibit “A.”

45. Relator believes and therefore avers that an audit of contracts between Defendant and PennDOT

   during the applicable limitation period beginning in October of 1993 would reveal and disclose




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   overcharges to PennDOT for services performed by Defendants by individuals who did not possess

   the necessary credentials or certificates for the rates of pay charges by Defendants.

46. Subsequent to the audits performed, PennDOT advised CMC Engineering, DMJM Harris, Inc., GAI

   Consultants, Inc., M. A. Beech Corporation, Maguire Group, Inc., Michael Baker Jr., Inc., SAI

   Consulting Engineers, Inc., Site-Blauvelt Engineers, Inc., T. W. Consultants, Inc., by letter dated

   April 10, 2002, that the Department was conducting a review of resumes submitted by the

   Defendants. A copy of the letter sent to each consultant is attached hereto, incorporated by reference,

   and marked Exhibit “B.”

47. Relator believes and therefore avers that each of the named Defendants was and is a party to

   contracts and agreements with PennDOT for consulting services and construction services during the

   applicable period of limitation.

48. Relator believes and therefore avers that the same letter was sent to all PennDOT Consulting firms

   throughout the Commonwealth.

49. Relator believes and therefore avers that the letter sent to all PennDOT Consulting firms generated

   no negative invoices as requested therein.

50. PennDOT acknowledged the existence of the overcharges alleged herein as set forth in the press

   release dated July 3, 2001. A copy of the press release is attached hereto, incorporated by reference,

   and marked Exhibit “C.”

51. As part of each and every contact and agreement by and between PennDOT and each Defendant,

   each Defendant was bound by the terms and conditions of the Consultant Integrity Provisions

   (December 20, 1991). A copy of the Consultant Integrity Provisions is attached hereto, incorporated

   by reference, and marked Exhibit “D.”




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52. As part of each and every contact and agreement by and between PennDOT and each Defendant,

     each Defendant was bound by the terms and conditions of the Consultant’s Certification Of Non-

     Collusion, February, 1990. A copy of the Consultant’s Certification Of Non-Collusion is attached

     hereto, incorporated by reference, and marked Exhibit “E.”

53. As part of each and every contact and agreement by and between PennDOT and each Defendant,

     each Defendant was bound by the terms and conditions of the Certification Of Department Of

     Transportation Commonwealth Of Pennsylvania January 1999. A copy of the Certification Of

     Department Of Transportation Commonwealth Of Pennsylvania is attached hereto, incorporated by

     reference, and marked Exhibit “F.”

54. As part of each and every contact and agreement by and between PennDOT and each Defendant,

     each Defendant was bound by the terms and conditions of the March 19 1990 Memorandum Of

     Howard Yerusalim Secretary Of The Department Of Transportation Commonwealth Of

     Pennsylvania Regarding Employment Of Relatives Of PennDOT Employees By Consultants And

     Contractors. A copy of the March 19 1990 Memorandum Of Howard Yerusalim Secretary Of The

     Department Of Transportation Commonwealth Of Pennsylvania Regarding Employment Of

     Relatives Of PennDOT Employees By Consultants And Contractors is attached hereto, incorporated

     by reference, and marked Exhibit “G.”

V.      FALSE STATEMENTS IN OBTAINING CONTRACT PAYMENTS FROM PENNDOT

55. In connection with the consultant contracts of Defendants with PennDOT, Defendants were

     obligated to supply services rendered by individuals possessing various credentials and certification.

     The payments under the contracts between Defendants and Consultants were based upon the

     certifications and credentials of the Defendants’ employees providing services.




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COUNT I -- U.S. Department of Transportation v. CMC Engineering

False Claims in the Acquisition of USDOT Financing

56. Relator hereby incorporates by reference paragraphs 1 through 55 and all allegations included

   therein.

57. In order to obtain USDOT financed payments from PennDOT the defendants, individually and

   collectively, knowingly made or caused to be made, statements which they knew or should have

   known to be false to PennDOT and by extension to USDOT for the purpose of defrauding the United

   States and obtaining USDOT funds, to the damage of the United States including but not limited to

   the following:

               a.    representing to PennDOT and USDOT that the services supplied were performed
                     by individuals possessing the credentials and certificates knowing that the
                     individuals were lacking the necessary credentials and certificates;

               b.    submitting invoices for services rendered based upon charges for services
                     supplied were performed by individuals possessing the credentials and certificates
                     knowing that the individuals were lacking the necessary credentials and
                     certificates;

PRAYER FOR RELIEF

      WHEREFORE, Relator, on behalf of herself and the United States, prays

               a.    That this Court order the defendants cease and desist from violating 31 U.S.C. §
                     3729;

               b.    That this Court enter judgment against the Defendants in an amount equal to three
                     times the amount of damages the United States has sustained, plus a civil penalty
                     of $5,000 to $10,000 for each violation of 31 U.S.C. § 3729, and the costs of this
                     action, with interest, including the costs of the United States for its expenses
                     related to this action;

               c.    That Relator be awarded all costs, including reasonable attorney fees;

               d.    That a trial by jury be held on all issues; and

               e.    That the United States and the Relator receive any other relief, both at law and at
                     equity, to which they may reasonably appear entitled.



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COUNT II -- U.S. Department of Transportation v. DMJM Harris, Inc.

False Claims in the Acquisition of USDOT Financing

58. Relator hereby incorporates by reference paragraphs 1 through 57 and all allegations included

   therein.

59. In order to obtain USDOT financed payments from PennDOT the defendants, individually and

   collectively, knowingly made or caused to be made, statements which they knew or should have

   known to be false to PennDOT and by extension to USDOT for the purpose of defrauding the United

   States and obtaining USDOT funds, to the damage of the United States including but not limited to

   the following:

               a.    representing to PennDOT and USDOT that the services supplied were performed
                     by individuals possessing the credentials and certificates knowing that the
                     individuals were lacking the necessary credentials and certificates;

               b.    submitting invoices for services rendered based upon charges for services
                     supplied were performed by individuals possessing the credentials and certificates
                     knowing that the individuals were lacking the necessary credentials and
                     certificates;

PRAYER FOR RELIEF

      WHEREFORE, Relator, on behalf of herself and the United States, prays

               a.    That this Court order the defendants cease and desist from violating 31 U.S.C. §
                     3729;

               b.    That this Court enter judgment against the Defendants in an amount equal to three
                     times the amount of damages the United States has sustained, plus a civil penalty
                     of $5,000 to $10,000 for each violation of 31 U.S.C. § 3729, and the costs of this
                     action, with interest, including the costs of the United States for its expenses
                     related to this action;

               c.    That Relator be awarded all costs, including reasonable attorney fees;

               d.    That a trial by jury be held on all issues; and




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               e. That the United States and the Relator receive any other relief, both at law and at
                  equity, to which they may reasonably appear entitled.

COUNT III -- U.S. Department of Transportation v. GAI Consultants, Inc.

False Claims in the Acquisition of USDOT Financing

60. Relator hereby incorporates by reference paragraphs 1 through 59 and all allegations included

   therein.

61. In order to obtain USDOT financed payments from PennDOT the defendants, individually and

   collectively, knowingly made or caused to be made, statements which they knew or should have

   known to be false to PennDOT and by extension to USDOT for the purpose of defrauding the United

   States and obtaining USDOT funds, to the damage of the United States including but not limited to

   the following:

               a.     representing to PennDOT and USDOT that the services supplied were performed
                      by individuals possessing the credentials and certificates knowing that the
                      individuals were lacking the necessary credentials and certificates;

               b.     submitting invoices for services rendered based upon charges for services
                      supplied were performed by individuals possessing the credentials and certificates
                      knowing that the individuals were lacking the necessary credentials and
                      certificates;

PRAYER FOR RELIEF

      WHEREFORE, Relator, on behalf of herself and the United States, prays

               a.     That this Court order the defendants cease and desist from violating 31 U.S.C. §
                      3729;

               b.     That this Court enter judgment against the Defendants in an amount equal to three
                      times the amount of damages the United States has sustained, plus a civil penalty
                      of $5,000 to $10,000 for each violation of 31 U.S.C. § 3729, and the costs of this
                      action, with interest, including the costs of the United States for its expenses
                      related to this action;

               c.     That Relator be awarded all costs, including reasonable attorney fees;

               d.     That a trial by jury be held on all issues; and



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               e.     That the United States and the Relator receive any other relief, both at law and at
                      equity, to which they may reasonably appear entitled.

COUNT IV -- U.S. Department of Transportation v. M.A. Beech Corporation

False Claims in the Acquisition of USDOT Financing

62. Relator hereby incorporates by reference paragraphs 1 through 61 and all allegations included

   therein.

63. In order to obtain USDOT financed payments from PennDOT the defendants, individually and

   collectively, knowingly made or caused to be made, statements which they knew or should have

   known to be false to PennDOT and by extension to USDOT for the purpose of defrauding the United

   States and obtaining USDOT funds, to the damage of the United States including but not limited to

   the following:

               a. representing to PennDOT and USDOT that the services supplied were performed by
                  individuals possessing the credentials and certificates knowing that the individuals
                  were lacking the necessary credentials and certificates;

               b. submitting invoices for services rendered based upon charges for services supplied
                  were performed by individuals possessing the credentials and certificates knowing
                  that the individuals were lacking the necessary credentials and certificates;

               c. In order to obtain USDOT financed payments from PennDOT the defendant M.A.
                  Beech, entered into numerous contracts/purchase orders with John B. Sullivan a/k/a
                  Jack Sullivan t/d/b/a Sullivan Sweats for the purchase of clothing and other
                  merchandise bearing the M. A. Beech logo, all of which was an advertising sham and
                  in fact was a bribe paid to John B. Sullivan; John B. Sullivan, a PennDOT official,
                  Principal Assistant Construction Engineer For District 11 Of PennDOT, and a
                  member of and chairman on a rotating basis of the Consultant Selection Committee of
                  PennDOT for District 11; Jack Sullivan as part of his duties supervised M. A. Beech
                  contracts and consulting services.

PRAYER FOR RELIEF

      WHEREFORE, Relator, on behalf of herself and the United States, prays

               a.     That this Court order the defendants cease and desist from violating 31 U.S.C. §
                      3729;



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               b.    That this Court enter judgment against the Defendants in an amount equal to three
                     times the amount of damages the United States has sustained, plus a civil penalty
                     of $5,000 to $10,000 for each violation of 31 U.S.C. § 3729, and the costs of this
                     action, with interest, including the costs of the United States for its expenses
                     related to this action;

               c.    That Relator be awarded all costs, including reasonable attorney fees;

               d.    That a trial by jury be held on all issues; and

               e.    That the United States and the Relator receive any other relief, both at law and at
                     equity, to which they may reasonably appear entitled.

COUNT V -- U.S. Department of Transportation v. Maguire Group, Inc.

False Claims in the Acquisition of USDOT Financing

64. Relator hereby incorporates by reference paragraphs 1 through 63 and all allegations included

   therein.

65. In order to obtain USDOT financed payments from PennDOT the defendants, individually and

   collectively, knowingly made or caused to be made, statements which they knew or should have

   known to be false to PennDOT and by extension to USDOT for the purpose of defrauding the United

   States and obtaining USDOT funds, to the damage of the United States including but not limited to

   the following:

               a.    representing to PennDOT and USDOT that the services supplied were performed
                     by individuals possessing the credentials and certificates knowing that the
                     individuals were lacking the necessary credentials and certificates;

               b.    submitting invoices for services rendered based upon charges for services
                     supplied were performed by individuals possessing the credentials and certificates
                     knowing that the individuals were lacking the necessary credentials and
                     certificates;

PRAYER FOR RELIEF

      WHEREFORE, Relator, on behalf of herself and the United States, prays




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               a.    That this Court order the defendants cease and desist from violating 31 U.S.C. §
                     3729;

               b.    That this Court enter judgment against the Defendants in an amount equal to three
                     times the amount of damages the United States has sustained, plus a civil penalty
                     of $5,000 to $10,000 for each violation of 31 U.S.C. § 3729, and the costs of this
                     action, with interest, including the costs of the United States for its expenses
                     related to this action;

               c.    That Relator be awarded all costs, including reasonable attorney fees;

               d.    That a trial by jury be held on all issues; and

               e.    That the United States and the Relator receive any other relief, both at law and at
                     equity, to which they may reasonably appear entitled.

COUNT VI -- U.S. Department of Transportation v. Michael Baker, Jr., Inc.

False Claims in the Acquisition of USDOT Financing

66. Relator hereby incorporates by reference paragraphs 1 through 65 and all allegations included

   therein.

67. In order to obtain USDOT financed payments from PennDOT the defendants, individually and

   collectively, knowingly made or caused to be made, statements which they knew or should have

   known to be false to PennDOT and by extension to USDOT for the purpose of defrauding the United

   States and obtaining USDOT funds, to the damage of the United States including but not limited to

   the following:

               a.    representing to PennDOT and USDOT that the services supplied were performed
                     by individuals possessing the credentials and certificates knowing that the
                     individuals were lacking the necessary credentials and certificates;

               b.    submitting invoices for services rendered based upon charges for services
                     supplied were performed by individuals possessing the credentials and certificates
                     knowing that the individuals were lacking the necessary credentials and
                     certificates;

68. At all times relevant, the contracts and agreements by and between PennDOT and each of the

   Defendants were subject to and administered according to the specifications issued by PennDOT and



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   published by PennDOT.

69. Provisions of the Contract and Agreement Specifications issued by PennDOT include policies and

   regulations dealing with contractor errors of omission or commission and/or design errors. Said

   regulations provide for contractors responsibility for said errors of omission or commission and/or

   design errors and further that said contractors are obligated to reimburse PennDOT for costs

   associated with contractor errors of omission or commission and/or design errors.

70. The USDOT relies on PennDOT’s policies and specification in administering Federal Highway

   Funded Projects, and the ability and willingness of the PennDOT to enforce its own policies and

   rules and regulations when it awards and allocates federal funds for highway construction in the

   Commonwealth of Pennsylvania.

71. The Defendant, Michael Baker, entered into an agreement with the PennDOT to design a portion of

   state route 19 at the West End Bridge in Allegheny County, PA known as state route 19, section

   A21. The scope of the design work included, the location and positioning of a fiber optic cable.

72. The USDOT provided eighty (80%) percent of the funding on improvements to the West End Circle.

73. Defendant Michael Baker Company was paid to locate and position the same in fiber optic cable in

   its designs for the West End Circle Project.

74. Although obligated to do so, Defendant Michael Baker did not anticipate the position of the cable

   and the highway contractor had to drill caissons which resulted in additional cost of the project of

   $250,000.00.

75. As a direct and proximate result of the design error of the Defendant, Michael Baker, PennDOT

   incurred an additional $250,000.00 to correct design flaws of Michael Baker, for the highway

   construction in question.

76. PennDOT did not seek from Michael Baker the reimbursement to which it was entitled under the




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   contact agreements and specifications.

77. The Defendant, Michael Baker, through a pattern of illegal entertainment, gift giving, and other

   corrupt activities, unduly influenced key executives and employees of the PennDOT, so to as cause

   the forgiveness by the PennDOT of any claims it had against the Defendant, Michael Baker

   Company.

78. This pattern of illegal entertainment, gift giving, and other corrupt activities included but is not

   limited to food and alcoholic beverages, Pittsburgh Pirates Baseball Club tickets and use of the

   corporate box at PNC Park, golf outings at which Defendant provided green fees, cart fees, food and

   alcoholic beverages on a frequent and regular basis.

79. The failure to seek reimbursement of the $250,000.00 and forgiveness made by corrupted PennDOT

   executives was contrary to the policies and the rules and regulations of the PennDOT, and was

   contrary to USDOT’s understanding that the PennDOT would enforce its own rules and regulations

   when disbursing federal highway funds.

80. As a direct and proximate result of the Defendant Michael Baker’s corruption of PennDOT

   executives, the USDOT has sustained a loss of eighty (80%) percent of the estimated cost of the

   $250,000.00 due and owing to the PennDOT by Michael Baker Corporation.

PRAYER FOR RELIEF

       WHEREFORE, Relator, on behalf of herself and the United States, prays

              a.      That this Court order the defendants cease and desist from violating 31 U.S.C. §
                      3729;

              b.      That this Court enter judgment against the Defendants in an amount equal to three
                      times the amount of damages the United States has sustained, plus a civil penalty
                      of $5,000 to $10,000 for each violation of 31 U.S.C. § 3729, and the costs of this
                      action, with interest, including the costs of the United States for its expenses
                      related to this action;

              c.      That Relator be awarded all costs, including reasonable attorney fees;



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               d.    That a trial by jury be held on all issues; and

               e.    That the United States and the Relator receive any other relief, both at law and at
                     equity, to which they may reasonably appear entitled.

COUNT VII -- U.S. Department of Transportation v. SAI Consulting Engineers, Inc.

False Claims in the Acquisition of USDOT Financing

81. Relator hereby incorporates by reference paragraphs 1 through 80 and all allegations included

   therein.

82. In order to obtain USDOT financed payments from PennDOT the defendants, individually and

   collectively, knowingly made or caused to be made, statements which they knew or should have

   known to be false to PennDOT and by extension to USDOT for the purpose of defrauding the United

   States and obtaining USDOT funds, to the damage of the United States including but not limited to

   the following:

          a. representing to PennDOT and USDOT that the services supplied were performed by
             individuals possessing the credentials and certificates knowing that the individuals were
             lacking the necessary credentials and certificates;

          b. submitting invoices for services rendered based upon charges for services supplied were
             performed by individuals possessing the credentials and certificates knowing that the
             individuals were lacking the necessary credentials and certificates;

          c. SAI maintained and participated in a pattern of corrupting PennDOT executives by
             placing on the payroll of SAI the spouse of a PennDOT executive—specifically Linda
             Martin, whose husband is and was at all times relevant John Martin, Asst. Construction
             Engineer for District 11 of PennDOT, and a member of and chairman on a rotating basis
             of the Consultant Selection Committee of PennDOT for District 11; John Martin, as part
             of his duties supervised SAI contracts and consulting services.

83. At all times relevant, the contracts and agreements by and between PennDOT and each of the

   Defendants were subject to and administered according to the specifications issued by PennDOT and

   published by PennDOT.

84. Provisions of the Contract and Agreement Specifications issued by PennDOT include policies and



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   regulations dealing with contractor errors of omission or commission and/or design errors. Said

   regulations provide for contractors responsibility for said errors of omission or commission and/or

   design errors and further that said contractors are obligated to reimburse PennDOT for costs

   associated with contractor errors of omission or commission and/or design errors.

85. The USDOT relies on PennDOT’s policies and specification in administering Federal Highway

   Funded Projects, and the ability and willingness of the PennDOT to enforce its own policies and

   rules and regulations when it awards and allocates federal funds for highway construction in the

   Commonwealth of Pennsylvania.

86. The Defendant, SAI Corporation, entered into an agreement with the PennDOT to design a portion

   of state route 28, in Etna in Allegheny County, PA known as state route 28. The scope of the design

   work included, location of a water line and positioning of work related thereto.

87. The USDOT provided eighty (80%) percent of the funding on improvements to the State Route 28,

   Etna Bypass.

88. Defendant SAI Corporation Company was paid to locate the water line and position work related

   thereto on the State Route 28 Project.

89. The Defendant SAI Corporation did not properly locate the water line requiring additional work and

   extra cost in the amount of $2,200,000.00.

90. As a direct and proximate result of the design error of the Defendant, SAI Corporation, PennDOT

   incurred an additional $2,200,000.00 to correct the design flaws of SAI Corporation, for the highway

   construction in question.

91. PennDOT did not seek from SAI Corporation the reimbursement to which it was entitled under the

   contact agreements and specifications.

92. The Defendant, SAI Corporation, through a pattern of illegal entertainment, gift giving, and other




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   corrupt activities, unduly influenced key executives and employees of the PennDOT, so to as cause

   the forgiveness by the PennDOT of any claims it had against the Defendant, SAI Corporation

   Company.

93. The failure to seek reimbursement of the $2,200,000.00 and forgiveness made by corrupted

   PennDOT executives was contrary to the policies and the rules and regulations of the PennDOT, and

   was contrary to USDOT’s understanding that the PennDOT would enforce its own rules and

   regulations when disbursing federal highway funds.

94. As a direct and proximate result of the Defendant SAI Corporation’s corruption of PennDOT

   executives, the USDOT has sustained a loss of eighty (80%) percent of the estimated cost of the

   $2,200,000.00 due and owing to the PennDOT by SAI Corporation, and additional costs for the

   waived penalties for failure to complete the project on time.

PRAYER FOR RELIEF

      WHEREFORE, Relator, on behalf of herself and the United States, prays

              a.      That this Court order the defendants cease and desist from violating 31 U.S.C. §
                      3729;

              b.      That this Court enter judgment against the Defendants in an amount equal to three
                      times the amount of damages the United States has sustained, plus a civil penalty
                      of $5,000 to $10,000 for each violation of 31 U.S.C. § 3729, and the costs of this
                      action, with interest, including the costs of the United States for its expenses
                      related to this action;

              c.      That Relator be awarded all costs, including reasonable attorney fees;

              d.      That a trial by jury be held on all issues; and

              e.      That the United States and the Relator receive any other relief, both at law and at
                      equity, to which they may reasonably appear entitled.




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COUNT VIII -- U.S. Department of Transportation v. Site-Blauvelt Engineers, Inc.

False Claims in the Acquisition of USDOT Financing

95. Relator hereby incorporates by reference paragraphs 1 through 94 and all allegations included

   therein.

96. In order to obtain USDOT financed payments from PennDOT the defendants, individually and

   collectively, knowingly made or caused to be made, statements which they knew or should have

   known to be false to PennDOT and by extension to USDOT for the purpose of defrauding the United

   States and obtaining USDOT funds, to the damage of the United States including but not limited to

   the following:

               a. representing to PennDOT and USDOT that the services supplied were performed by
                  individuals possessing the credentials and certificates knowing that the individuals
                  were lacking the necessary credentials and certificates;

               b.     submitting invoices for services rendered based upon charges for services supplied
                    were performed by individuals possessing the credentials and certificates knowing
                    that the individuals were lacking the necessary credentials and certificates;

               c.      Site-Blauvelt maintained and participated in a pattern of corrupting PennDOT
                    executives by placing on the payroll of Site-Blauvelt the spouse of a PennDOT
                    executive—specifically Mona Beerbower, whose husband is and was at all times
                    relevant Ralph Beerbower, Asst. Construction Engineer for District 11 of PennDOT,
                    and a member of and chairman on a rotating basis of the Consultant Selection
                    Committee of PennDOT for District 11; Ralph Beerbower, as part of his duties
                    supervised Site-Blauvelt contracts and consulting services.

PRAYER FOR RELIEF

      WHEREFORE, Relator, on behalf of herself and the United States, prays

               a.      That this Court order the defendants cease and desist from violating 31 U.S.C. §
                       3729;

               b.      That this Court enter judgment against the Defendants in an amount equal to three
                       times the amount of damages the United States has sustained, plus a civil penalty
                       of $5,000 to $10,000 for each violation of 31 U.S.C. § 3729, and the costs of this
                       action, with interest, including the costs of the United States for its expenses
                       related to this action;



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               c.    That Relator be awarded all costs, including reasonable attorney fees;

               d.    That a trial by jury be held on all issues; and

               e.    That the United States and the Relator receive any other relief, both at law and at
                     equity, to which they may reasonably appear entitled.

COUNT IX -- U.S. Department of Transportation v. AWK Consulting Engineers, Inc.

False Claims in the Acquisition of USDOT Financing

97. Relator hereby incorporates by reference paragraphs 1 through 96 and all allegations included

   therein.

98. In order to obtain USDOT financed payments from PennDOT the defendants, individually and

   collectively, knowingly made or caused to be made, statements which they knew or should have

   known to be false to PennDOT and by extension to USDOT for the purpose of defrauding the United

   States and obtaining USDOT funds, to the damage of the United States including but not limited to

   the following:

               a.    representing to PennDOT and USDOT that the services supplied were performed
                     by individuals possessing the credentials and certificates knowing that the
                     individuals were lacking the necessary credentials and certificates;

               b.    submitting invoices for services rendered based upon charges for services
                     supplied were performed by individuals possessing the credentials and certificates
                     knowing that the individuals were lacking the necessary credentials and
                     certificates;

PRAYER FOR RELIEF

      WHEREFORE, Relator, on behalf of herself and the United States, prays

               a.    That this Court order the defendants cease and desist from violating 31 U.S.C. §
                     3729;

               b.    That this Court enter judgment against the Defendants in an amount equal to three
                     times the amount of damages the United States has sustained, plus a civil penalty
                     of $5,000 to $10,000 for each violation of 31 U.S.C. § 3729, and the costs of this




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                     action, with interest, including the costs of the United States for its expenses
                     related to this action;

               c.    That Relator be awarded all costs, including reasonable attorney fees;

               d.    That a trial by jury be held on all issues; and

               e.    That the United States and the Relator receive any other relief, both at law and at
                     equity, to which they may reasonably appear entitled.

COUNT X -- U.S. Department of Transportation v. Erdman Anthony Associates, Inc.

False Claims in the Acquisition of USDOT Financing

99. Relator hereby incorporates by reference paragraphs 1 through 98 and all allegations included

   therein.

100.   In order to obtain USDOT financed payments from PennDOT the defendants, individually and

   collectively, knowingly made or caused to be made, statements which they knew or should have

   known to be false to PennDOT and by extension to USDOT for the purpose of defrauding the United

   States and obtaining USDOT funds, to the damage of the United States including but not limited to

   the following:

               a.    representing to PennDOT and USDOT that the services supplied were performed
                     by individuals possessing the credentials and certificates knowing that the
                     individuals were lacking the necessary credentials and certificates;

               b.    submitting invoices for services rendered based upon charges for services
                     supplied were performed by individuals possessing the credentials and certificates
                     knowing that the individuals were lacking the necessary credentials and
                     certificates;

PRAYER FOR RELIEF

       WHEREFORE, Relator, on behalf of herself and the United States, prays

               a.    That this Court order the defendants cease and desist from violating 31 U.S.C. §
                     3729;

               b.    That this Court enter judgment against the Defendants in an amount equal to three
                     times the amount of damages the United States has sustained, plus a civil penalty



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                     of $5,000 to $10,000 for each violation of 31 U.S.C. § 3729, and the costs of this
                     action, with interest, including the costs of the United States for its expenses
                     related to this action;

               c.    That Relator be awarded all costs, including reasonable attorney fees;

               d.    That a trial by jury be held on all issues; and

               e.    That the United States and the Relator receive any other relief, both at law and at
                     equity, to which they may reasonably appear entitled.

COUNT XI -- U.S. Department of Transportation v. Gannett Fleming, Inc.

False Claims in the Acquisition of USDOT Financing

101.   Relator hereby incorporates by reference paragraphs 1 through 100 and all allegations included

   therein.

102.   In order to obtain USDOT financed payments from PennDOT the defendants, individually and

   collectively, knowingly made or caused to be made, statements which they knew or should have

   known to be false to PennDOT and by extension to USDOT for the purpose of defrauding the United

   States and obtaining USDOT funds, to the damage of the United States including but not limited to

   the following:

               a.    representing to PennDOT and USDOT that the services supplied were performed
                     by individuals possessing the credentials and certificates knowing that the
                     individuals were lacking the necessary credentials and certificates;

               b.    submitting invoices for services rendered based upon charges for services
                     supplied were performed by individuals possessing the credentials and certificates
                     knowing that the individuals were lacking the necessary credentials and
                     certificates;

PRAYER FOR RELIEF

       WHEREFORE, Relator, on behalf of herself and the United States, prays

               a.    That this Court order the defendants cease and desist from violating 31 U.S.C. §
                     3729;




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               b.    That this Court enter judgment against the Defendants in an amount equal to three
                     times the amount of damages the United States has sustained, plus a civil penalty
                     of $5,000 to $10,000 for each violation of 31 U.S.C. § 3729, and the costs of this
                     action, with interest, including the costs of the United States for its expenses
                     related to this action;

               c.    That Relator be awarded all costs, including reasonable attorney fees;

               d.    That a trial by jury be held on all issues; and

               e.    That the United States and the Relator receive any other relief, both at law and at
                     equity, to which they may reasonably appear entitled.

COUNT XII -- U.S. Department of Transportation v. K.B.A. Engineering, P.C.

False Claims in the Acquisition of USDOT Financing

103.   Relator hereby incorporates by reference paragraphs 1 through 102 and all allegations included

   therein.

104.   In order to obtain USDOT financed payments from PennDOT the defendants, individually and

   collectively, knowingly made or caused to be made, statements which they knew or should have

   known to be false to PennDOT and by extension to USDOT for the purpose of defrauding the United

   States and obtaining USDOT funds, to the damage of the United States including but not limited to

   the following:

               a.    representing to PennDOT and USDOT that the services supplied were performed
                     by individuals possessing the credentials and certificates knowing that the
                     individuals were lacking the necessary credentials and certificates;

               b.    submitting invoices for services rendered based upon charges for services
                     supplied were performed by individuals possessing the credentials and certificates
                     knowing that the individuals were lacking the necessary credentials and
                     certificates;

PRAYER FOR RELIEF

       WHEREFORE, Relator, on behalf of herself and the United States, prays

               a.    That this Court order the defendants cease and desist from violating 31 U.S.C. §
                     3729;



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               b.    That this Court enter judgment against the Defendants in an amount equal to three
                     times the amount of damages the United States has sustained, plus a civil penalty
                     of $5,000 to $10,000 for each violation of 31 U.S.C. § 3729, and the costs of this
                     action, with interest, including the costs of the United States for its expenses
                     related to this action;

               c.    That Relator be awarded all costs, including reasonable attorney fees;

               d.    That a trial by jury be held on all issues; and

               e.    That the United States and the Relator receive any other relief, both at law and at
                     equity, to which they may reasonably appear entitled.

COUNT XIII -- U.S. Department of Transportation v. L. Robert Kimball & Associates

False Claims in the Acquisition of USDOT Financing

105.   Relator hereby incorporates by reference paragraphs 1 through 104 and all allegations included

   therein.

106.   In order to obtain USDOT financed payments from PennDOT the defendants, individually and

   collectively, knowingly made or caused to be made, statements which they knew or should have

   known to be false to PennDOT and by extension to USDOT for the purpose of defrauding the United

   States and obtaining USDOT funds, to the damage of the United States including but not limited to

   the following:

               a.    representing to PennDOT and USDOT that the services supplied were performed
                     by individuals possessing the credentials and certificates knowing that the
                     individuals were lacking the necessary credentials and certificates;

               b.    submitting invoices for services rendered based upon charges for services
                     supplied were performed by individuals possessing the credentials and certificates
                     knowing that the individuals were lacking the necessary credentials and
                     certificates;

PRAYER FOR RELIEF

       WHEREFORE, Relator, on behalf of herself and the United States, prays




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               a.    That this Court order the defendants cease and desist from violating 31 U.S.C. §
                     3729;

               b.    That this Court enter judgment against the Defendants in an amount equal to three
                     times the amount of damages the United States has sustained, plus a civil penalty
                     of $5,000 to $10,000 for each violation of 31 U.S.C. § 3729, and the costs of this
                     action, with interest, including the costs of the United States for its expenses
                     related to this action;

               c.    That Relator be awarded all costs, including reasonable attorney fees;

               d.    That a trial by jury be held on all issues; and

               e.    That the United States and the Relator receive any other relief, both at law and at
                     equity, to which they may reasonably appear entitled.

COUNT XIV -- U.S. Department of Transportation v. Mackin Engineering

False Claims in the Acquisition of USDOT Financing

107.   Relator hereby incorporates by reference paragraphs 1 through 106 and all allegations included

   therein.

108.   In order to obtain USDOT financed payments from PennDOT the defendants, individually and

   collectively, knowingly made or caused to be made, statements which they knew or should have

   known to be false to PennDOT and by extension to USDOT for the purpose of defrauding the United

   States and obtaining USDOT funds, to the damage of the United States including but not limited to

   the following:

               a.    representing to PennDOT and USDOT that the services supplied were performed
                     by individuals possessing the credentials and certificates knowing that the
                     individuals were lacking the necessary credentials and certificates;

               b.    submitting invoices for services rendered based upon charges for services
                     supplied were performed by individuals possessing the credentials and certificates
                     knowing that the individuals were lacking the necessary credentials and
                     certificates;

PRAYER FOR RELIEF

       WHEREFORE, Relator, on behalf of herself and the United States, prays



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               a.    That this Court order the defendants cease and desist from violating 31 U.S.C. §
                     3729;

               b.    That this Court enter judgment against the Defendants in an amount equal to three
                     times the amount of damages the United States has sustained, plus a civil penalty
                     of $5,000 to $10,000 for each violation of 31 U.S.C. § 3729, and the costs of this
                     action, with interest, including the costs of the United States for its expenses
                     related to this action;

               c.    That Relator be awarded all costs, including reasonable attorney fees;

               d.    That a trial by jury be held on all issues; and

               e.    That the United States and the Relator receive any other relief, both at law and at
                     equity, to which they may reasonably appear entitled.

COUNT XV -- U.S. Department of Transportation v. McTish Kunkel & Associates

False Claims in the Acquisition of USDOT Financing

109.   Relator hereby incorporates by reference paragraphs 1 through 108 and all allegations included

   therein.

110.   In order to obtain USDOT financed payments from PennDOT the defendants, individually and

   collectively, knowingly made or caused to be made, statements which they knew or should have

   known to be false to PennDOT and by extension to USDOT for the purpose of defrauding the United

   States and obtaining USDOT funds, to the damage of the United States including but not limited to

   the following:

               a.    representing to PennDOT and USDOT that the services supplied were performed
                     by individuals possessing the credentials and certificates knowing that the
                     individuals were lacking the necessary credentials and certificates;

               b.    submitting invoices for services rendered based upon charges for services
                     supplied were performed by individuals possessing the credentials and certificates
                     knowing that the individuals were lacking the necessary credentials and
                     certificates;

PRAYER FOR RELIEF




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       WHEREFORE, Relator, on behalf of herself and the United States, prays

               a.    That this Court order the defendants cease and desist from violating 31 U.S.C. §
                     3729;

               b.    That this Court enter judgment against the Defendants in an amount equal to three
                     times the amount of damages the United States has sustained, plus a civil penalty
                     of $5,000 to $10,000 for each violation of 31 U.S.C. § 3729, and the costs of this
                     action, with interest, including the costs of the United States for its expenses
                     related to this action;

               c.    That Relator be awarded all costs, including reasonable attorney fees;

               d.    That a trial by jury be held on all issues; and

               e.    That the United States and the Relator receive any other relief, both at law and at
                     equity, to which they may reasonably appear entitled.

COUNT XVI -- U.S. Department of Transportation v. Parsons Brinkerhoff

False Claims in the Acquisition of USDOT Financing

111.   Relator hereby incorporates by reference paragraphs 1 through 110 and all allegations included

   therein.

112.   In order to obtain USDOT financed payments from PennDOT the defendants, individually and

   collectively, knowingly made or caused to be made, statements which they knew or should have

   known to be false to PennDOT and by extension to USDOT for the purpose of defrauding the United

   States and obtaining USDOT funds, to the damage of the United States including but not limited to

   the following:

               a.    representing to PennDOT and USDOT that the services supplied were performed
                     by individuals possessing the credentials and certificates knowing that the
                     individuals were lacking the necessary credentials and certificates;

               b.    submitting invoices for services rendered based upon charges for services
                     supplied were performed by individuals possessing the credentials and certificates
                     knowing that the individuals were lacking the necessary credentials and
                     certificates;

PRAYER FOR RELIEF



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       WHEREFORE, Relator, on behalf of herself and the United States, prays

               a.    That this Court order the defendants cease and desist from violating 31 U.S.C. §
                     3729;

               b.    That this Court enter judgment against the Defendants in an amount equal to three
                     times the amount of damages the United States has sustained, plus a civil penalty
                     of $5,000 to $10,000 for each violation of 31 U.S.C. § 3729, and the costs of this
                     action, with interest, including the costs of the United States for its expenses
                     related to this action;

               c.    That Relator be awarded all costs, including reasonable attorney fees;

               d.    That a trial by jury be held on all issues; and

               e.    That the United States and the Relator receive any other relief, both at law and at
                     equity, to which they may reasonably appear entitled.

COUNT XVII -- U.S. Department of Transportation v. Quality Engineering Solutions

False Claims in the Acquisition of USDOT Financing

113.   Relator hereby incorporates by reference paragraphs 1 through 112 and all allegations included

   therein.

114.   In order to obtain USDOT financed payments from PennDOT the defendants, individually and

   collectively, knowingly made or caused to be made, statements which they knew or should have

   known to be false to PennDOT and by extension to USDOT for the purpose of defrauding the United

   States and obtaining USDOT funds, to the damage of the United States including but not limited to

   the following:

               a.    representing to PennDOT and USDOT that the services supplied were performed
                     by individuals possessing the credentials and certificates knowing that the
                     individuals were lacking the necessary credentials and certificates;

               b.    submitting invoices for services rendered based upon charges for services
                     supplied were performed by individuals possessing the credentials and certificates
                     knowing that the individuals were lacking the necessary credentials and
                     certificates;

PRAYER FOR RELIEF



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       WHEREFORE, Relator, on behalf of herself and the United States, prays

               a.    That this Court order the defendants cease and desist from violating 31 U.S.C. §
                     3729;

               b.    That this Court enter judgment against the Defendants in an amount equal to three
                     times the amount of damages the United States has sustained, plus a civil penalty
                     of $5,000 to $10,000 for each violation of 31 U.S.C. § 3729, and the costs of this
                     action, with interest, including the costs of the United States for its expenses
                     related to this action;

               c.    That Relator be awarded all costs, including reasonable attorney fees;

               d.    That a trial by jury be held on all issues; and

               e.    That the United States and the Relator receive any other relief, both at law and at
                     equity, to which they may reasonably appear entitled.

COUNT XVIII -- U.S. Department of Transportation v. T. W. Consultants, Inc.

False Claims in the Acquisition of USDOT Financing

115.   Relator hereby incorporates by reference paragraphs 1 through 114 and all allegations included

   therein.

116.   In order to obtain USDOT financed payments from PennDOT the defendants, individually and

   collectively, knowingly made or caused to be made, statements which they knew or should have

   known to be false to PennDOT and by extension to USDOT for the purpose of defrauding the United

   States and obtaining USDOT funds, to the damage of the United States including but not limited to

   the following:

               a.    representing to PennDOT and USDOT that the services supplied were performed
                     by individuals possessing the credentials and certificates knowing that the
                     individuals were lacking the necessary credentials and certificates;

               b.    submitting invoices for services rendered based upon charges for services
                     supplied were performed by individuals possessing the credentials and certificates
                     knowing that the individuals were lacking the necessary credentials and
                     certificates;

PRAYER FOR RELIEF



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       WHEREFORE, Relator, on behalf of herself and the United States, prays

               a.    That this Court order the defendants cease and desist from violating 31 U.S.C. §
                     3729;

               b.    That this Court enter judgment against the Defendants in an amount equal to three
                     times the amount of damages the United States has sustained, plus a civil penalty
                     of $5,000 to $10,000 for each violation of 31 U.S.C. § 3729, and the costs of this
                     action, with interest, including the costs of the United States for its expenses
                     related to this action;

               c.    That Relator be awarded all costs, including reasonable attorney fees;

               d.    That a trial by jury be held on all issues; and

               e.    That the United States and the Relator receive any other relief, both at law and at
                     equity, to which they may reasonably appear entitled.



COUNT XIX -- U.S. Department of Transportation v. Construction Consultant Service, Inc.

False Claims in the Acquisition of USDOT Financing

117.   Relator hereby incorporates by reference paragraphs 1 through 116 and all allegations included

   therein.

118.   In order to obtain USDOT financed payments from PennDOT the defendants, individually and

   collectively, knowingly made or caused to be made, statements which they knew or should have

   known to be false to PennDOT and by extension to USDOT for the purpose of defrauding the United

   States and obtaining USDOT funds, to the damage of the United States including but not limited to

   the following:

               a.    representing to PennDOT and USDOT that the services supplied were performed
                     by individuals possessing the credentials and certificates knowing that the
                     individuals were lacking the necessary credentials and certificates;

               b.    submitting invoices for services rendered based upon charges for services
                     supplied were performed by individuals possessing the credentials and certificates
                     knowing that the individuals were lacking the necessary credentials and
                     certificates;



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PRAYER FOR RELIEF

       WHEREFORE, Relator, on behalf of herself and the United States, prays

               a.    That this Court order the defendants cease and desist from violating 31 U.S.C. §
                     3729;

               b.    That this Court enter judgment against the Defendants in an amount equal to three
                     times the amount of damages the United States has sustained, plus a civil penalty
                     of $5,000 to $10,000 for each violation of 31 U.S.C. § 3729, and the costs of this
                     action, with interest, including the costs of the United States for its expenses
                     related to this action;

               c.    That Relator be awarded all costs, including reasonable attorney fees;

               d.    That a trial by jury be held on all issues; and

               e.    That the United States and the Relator receive any other relief, both at law and at
                     equity, to which they may reasonably appear entitled.

COUNT XX -- U.S. Department of Transportation v. Trumbull Corporation

False Claims in the Acquisition of USDOT Financing

119.   Relator hereby incorporates by reference paragraphs 1 through 118 and all allegations included

   therein.

120.   In order to obtain USDOT financed payments from PennDOT the defendants, individually and

   collectively, knowingly made or caused to be made, statements which they knew or should have

   known to be false to PennDOT and by extension to USDOT for the purpose of defrauding the United

   States and obtaining USDOT funds, to the damage of the United States including but not limited to

   the following:

               a.    representing to PennDOT and USDOT that the services supplied were performed
                     by individuals possessing the credentials and certificates knowing that the
                     individuals were lacking the necessary credentials and certificates;

               b.    submitting invoices for services rendered based upon charges for services
                     supplied were performed by individuals possessing the credentials and certificates




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                            knowing that the individuals were lacking the necessary credentials and
                            certificates;

121.      At all times relevant, the contracts and agreements by and between PennDOT and each of the

    Defendants were subject to and administered according to the specifications issued by PennDOT and

    published by PennDOT.

122.      Provisions of the Contract and Agreement Specifications issued by PennDOT include policies

    and regulations dealing with contractor errors of omission or commission and/or design errors. Said

    regulations provide for contractors responsibility for said errors of omission or commission and/or

    design errors and further that said contractors are obligated to reimburse PennDOT for costs

    associated with contractor errors of omission or commission and/or design errors. Section 107.14 of

    the specifications set forth the requirements for damage claim responsibility.3

123.      The USDOT relies on PennDOT’s policies and specification in administering Federal Highway

    Funded Projects, and the ability and willingness of the PennDOT to enforce its own policies and

    rules and regulations when it awards and allocates federal funds for highway construction in the

    Commonwealth of Pennsylvania.

124.      Although obligated to do so, Defendant Trumbull Corporation did not fulfill a contractual

    obligation to locate an underground utility facility which resulted in additional cost of the project of

    $2, 200,000.00. Section 105.60 of the Specifications sets forth the requirements for investigating and

    locating facilities and structures on projects.4


3
  107.14 RESPONSIBILITY FOR DAMAGE CLAIMS—Furnish insurance certificate(s), as specified in Section 103.05,
to indemnify and save harmless the State, the Department, and all of its officers and employees from all suits, actions, or
claims of any character, name, and description, brought for or on account of any injuries or damages received or sustained by
any person, persons, or property during the performance of work by the Contractor, whether the same is due to the use of
defective material, defective workmanship, neglect in safeguarding the work or public interests, or by or on account of any act,
omission, neglect, or misconduct of the Contractor, or any Subcontractors, Fabricators, Manufacturers, or Vendors.
Also indemnify and save harmless the State, the Department, and all of its officers and employees from cases arising as
specified in Sections 105.05 and 107.16, or from any claims for amounts arising or recovered under the Workers'
Compensation Law, or any other law, bylaw, ordinance, order, or decree. Specifications §107.14.
4
  Investigate the location of public and private facilities and structures m, under, or over the project site and all waste and borrow



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125.      The Defendant, Trumbull Corporation, entered into an agreement with the PennDOT to

    construct a portion of state route 28, in Etna in Allegheny County, PA known as state route 28. The

    scope of the construction work included, location of a water line and positioning of work related

    thereto.

126.      The USDOT provided eighty (80%) percent of the funding on improvements to the State Route

    28, Etna Bypass.

127.      Under the terms of the contract with PennDOT and pursuant to the contract specifications

    published by PennDOT, Defendant Trumbull Corporation Company was paid as part of the contract

    to locate the water line and position work related thereto on the State Route 28 Project.

128.      The Defendant Trumbull Corporation did not properly locate the water line requiring additional

    work and extra cost in the amount of $2,200,000.00.

129.      As a direct and proximate result of the Defendant Trumbull Corporation’s failure to locate the

    waterline, PennDOT incurred an additional $2,200,000.00 to correct failure of Trumbull

    Corporation, for the highway construction in question. In addition, PennDOT waived a $30,000.00

    daily penalty for not finishing on time.

130.      PennDOT did not seek from Trumbull Corporation the reimbursement to which it was entitled

    under the contact agreements and specifications.

131.      The Defendant, Trumbull Corporation, through a pattern of illegal entertainment, gift giving,

    and other corrupt activities, unduly influenced key executives and employees of the PennDOT, so to

    as cause the forgiveness by the PennDOT of any claims it had against the Defendant, Trumbull

    Corporation Company.



areas not on the project site to determine whether such facilities and structures might or might not require placement, replacement,
relocation, adjustment, or reconstruction and whether they might interfere with operations performed under this contract. The
Department has indicated on the drawings such facilities and structures as have been brought to its attention, but such indications
will not relieve the Contractor of any responsibility under this section. Specifications §107.60.



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132.   The failure to seek reimbursement of the $2,200,000.00 and forgiveness made by corrupted

   PennDOT executives was contrary to the policies and the rules and regulations of the PennDOT, and

   was contrary to USDOT’s understanding that the PennDOT would enforce its own rules and

   regulations when disbursing federal highway funds.

133.   As a direct and proximate result of the Defendant Trumbull Corporation’s corruption of

   PennDOT executives, the USDOT has sustained a loss of eighty (80%) percent of the estimated cost

   of the $2,200,000.00 due and owing to the PennDOT by Trumbull Corporation, and additional costs

   for the waived penalties for failure to complete the project on time.

134.   At all times relevant, the contracts and agreements by and between PennDOT and each of the

   Defendants were subject to and administered according to the specifications issued by PennDOT and

   published by PennDOT.

135.   Provisions of the Contract and Agreement Specifications issued by PennDOT require that the

   contracting agency provide fire and casualty insurance covering the equipment of PennDOT, the

   contracting agency and other contractors working on the project. PennDOT is to be a named insured

   on the policies issued. Said Contractors are obligated to reimburse PennDOT for costs associated fire

   and casualty events which are the responsibility of the contactors.

136.   The USDOT relies on PennDOT’s policies and specification in administering Federal Highway

   Funded Projects, and the ability and willingness of the PennDOT to enforce its own policies and

   rules and regulations when it awards and allocates federal funds for highway construction in the

   Commonwealth of Pennsylvania.

137.   The Defendant, Trumbull Corporation, entered into an agreement with the PennDOT to do

   construction and renovation of the Fort Pitt Tunnel and portal in Pittsburgh, Allegheny County.

138.   The USDOT provided eighty (80%) percent of the funding on improvements to the Fort Pitt




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   Tunnel.

139.   In May of 2003 construction equipment owned by Trumbull Corporation caught fire during the

   tunnel's renovation in May 2003 causing substantial damage to the Fort Pitt Tunnel and portal in an

   amount in excess of $2,000.000.00 .

140.   Trumbull Corporation, although responsible for the damage participated in and was paid by

   PennDOT for the fire damage: $475,000. In addition, PennDOT waived completion requirements

   and penalties, and paid Trumbull Corporation a $1,500,000.00 early completion bonus.

141.   PennDOT did not seek from Trumbull Corporation the reimbursement for damages to which it

   was entitled under the contact agreements and specifications.

142.   The Defendant, Trumbull Corporation, through a pattern of illegal entertainment, gift giving,

   and other corrupt activities, unduly influenced key executives and employees of the PennDOT, so to

   as cause the forgiveness by the PennDOT of any claims it had against the Defendant, Trumbull

   Corporation Company.

143.   The failure to seek reimbursement of the $2,000,000.00, payment of $475,000.00 and

   forgiveness made by corrupted PennDOT executives was contrary to the policies and the rules and

   regulations of the PennDOT, and was contrary to USDOT’s understanding that the PennDOT would

   enforce its own rules and regulations when disbursing federal highway funds.

144.   As a direct and proximate result of the Defendant Trumbull Corporation’s corruption of

   PennDOT executives, the USDOT has sustained a loss of eighty (80%) percent of the estimated cost

   of the $1,500,000.00 bonus improperly paid to Trumbull Corporation and due and owing to

   PennDOT by Trumbull Corporation, and additional costs for the waived penalties for failure to

   complete the project on time, and damages which should under the terms and condition of the

   agreement with PennDOT should have been covered by insurance which was the responsibility of




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   Trumbull Corporation.

PRAYER FOR RELIEF

       WHEREFORE, Relator, on behalf of herself and the United States, prays

          a. That this Court order the defendants cease and desist from violating 31 U.S.C. § 3729;

          b. That this Court enter judgment against the Defendants in an amount equal to three times
             the amount of damages the United States has sustained, plus a civil penalty of $5,000 to
             $10,000 for each violation of 31 U.S.C. § 3729, and the costs of this action, with interest,
             including the costs of the United States for its expenses related to this action;

          c. That Relator be awarded all costs, including reasonable attorney fees;

          d. That a trial by jury be held on all issues;

          e. repayment of $475,000.00;

          f. repayment of the $1,500, 000.00 early completion bonus; and

          g. $2,200,000.00 damages sustained to the Liberty Tunnel and portal which amount was
             expended to make repairs.

COUNT XXI -- U.S. Department of Transportation v. Urban Engineers, Inc.

False Claims in the Acquisition of USDOT Financing

133.   Relator hereby incorporates by reference paragraphs 1 through 144 and all allegations included

   therein.

134.   In order to obtain USDOT financed payments from PennDOT the defendants, individually and

   collectively, knowingly made or caused to be made, statements which they knew or should have

   known to be false to PennDOT and by extension to USDOT for the purpose of defrauding the United

   States and obtaining USDOT funds, to the damage of the United States including but not limited to

   the following:

               a.    representing to PennDOT and USDOT that the services supplied were performed
                     by individuals possessing the credentials and certificates knowing that the
                     individuals were lacking the necessary credentials and certificates;




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               b.    submitting invoices for services rendered based upon charges for services
                     supplied were performed by individuals possessing the credentials and certificates
                     knowing that the individuals were lacking the necessary credentials and
                     certificates;

PRAYER FOR RELIEF

       WHEREFORE, Relator, on behalf of herself and the United States, prays

               a.    That this Court order the defendants cease and desist from violating 31 U.S.C. §
                     3729;

               b.    That this Court enter judgment against the Defendants in an amount equal to three
                     times the amount of damages the United States has sustained, plus a civil penalty
                     of $5,000 to $10,000 for each violation of 31 U.S.C. § 3729, and the costs of this
                     action, with interest, including the costs of the United States for its expenses
                     related to this action;

               c.    That Relator be awarded all costs, including reasonable attorney fees;

               d.    That a trial by jury be held on all issues; and

               e.    That the United States and the Relator receive any other relief, both at law and at
                     equity, to which they may reasonably appear entitled.



COUNT XXII -- U.S. Department of Transportation v. VE Engineering, Inc.

False Claims in the Acquisition of USDOT Financing

135.   Relator hereby incorporates by reference paragraphs 1 through 146 and all allegations included

   therein.

136.   In order to obtain USDOT financed payments from PennDOT the defendants, individually and

   collectively, knowingly made or caused to be made, statements which they knew or should have

   known to be false to PennDOT and by extension to USDOT for the purpose of defrauding the United

   States and obtaining USDOT funds, to the damage of the United States including but not limited to

   the following:




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                                                                 USDOT & Arnold v. AWK Consulting Engineers, Inc., et al.
                                                                                     NO. 03-1580; Amended Complaint;
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              a.     representing to PennDOT and USDOT that the services supplied were performed
                     by individuals possessing the credentials and certificates knowing that the
                     individuals were lacking the necessary credentials and certificates;

              b.     submitting invoices for services rendered based upon charges for services
                     supplied were performed by individuals possessing the credentials and certificates
                     knowing that the individuals were lacking the necessary credentials and
                     certificates;

PRAYER FOR RELIEF

       WHEREFORE, Relator, on behalf of herself and the United States, prays

              a.     That this Court order the defendants cease and desist from violating 31 U.S.C. §
                     3729;

              b.     That this Court enter judgment against the Defendants in an amount equal to three
                     times the amount of damages the United States has sustained, plus a civil penalty
                     of $5,000 to $10,000 for each violation of 31 U.S.C. § 3729, and the costs of this
                     action, with interest, including the costs of the United States for its expenses
                     related to this action;

              c.     That Relator be awarded all costs, including reasonable attorney fees;

              d.     That a trial by jury be held on all issues; and

              e.     That the United States and the Relator receive any other relief, both at law and at
                     equity, to which they may reasonably appear entitled.

JURY TRIAL DEMANDED

Dated: January 6, 2006

Respectfully submitted,

James A. Ashton                                         Jon Pushinsky
James A. Ashton, Esquire                                Jon Pushinsky, Esquire
PA Supreme Court Id. # 11097                            PA Supreme Court Id. # 30434

W. J. Helzlsouer
W. J. Helzlsouer, Esquire
PA Supreme Court Id. # 17300

                                                    Attorneys for Relator, August W. Arnold




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